
FINDINGS OF FACT.
The taxpayer is a resident of New York. Some time in the year 1919 he purchased a power boat for a price not disclosed by the record, and during the remainder of such year, and also in 1920, *1134spent substantial amounts in repairing and conditioning said boat for the purpose and with the expectation of reselling it at a profit. He sold the boat in December, 1920, for a price which the Commissioner admits resulted in a loss in the amount of $5,408.39. He was not a yachtsman, had never theretofore owned a boat of any kind, and made no use of the vessel in question for pleasure or recreation. During the entire period of his ownership of such boat he made not more than nine short trips on the same, and then only for the purpose of demonstrating it to prospective purchasers.

Order of no deficiency will be entered accordingly.

